Case 2:13-cr-00031-JLQ   ECF No. 137   filed 09/03/13   PageID.681 Page 1 of 7
Case 2:13-cr-00031-JLQ   ECF No. 137   filed 09/03/13   PageID.682 Page 2 of 7
Case 2:13-cr-00031-JLQ   ECF No. 137   filed 09/03/13   PageID.683 Page 3 of 7
Case 2:13-cr-00031-JLQ   ECF No. 137   filed 09/03/13   PageID.684 Page 4 of 7
Case 2:13-cr-00031-JLQ   ECF No. 137   filed 09/03/13   PageID.685 Page 5 of 7
Case 2:13-cr-00031-JLQ   ECF No. 137   filed 09/03/13   PageID.686 Page 6 of 7
Case 2:13-cr-00031-JLQ   ECF No. 137   filed 09/03/13   PageID.687 Page 7 of 7
